                                                     Case 3:22-cv-00421-CRB Document 53 Filed 06/07/22 Page 1 of 5



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                                           7
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                                           8    ENVISION HEALTHCARE CORPORATION
                                                AND ENVISION PHYSICIAN SERVICES,
                                           9    L.L.C.

                                           10                              UNITED STATES DISTRICT COURT

                                           11                          NORTHERN DISTRICT OF CALIFORNIA
MCDERMOTT WILL & EMERY LLP




                                           12                                        SAN FRANCISCO
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   AMERICAN ACADEMY OF EMERGENCY                     CASE NO. 3:22-cv-00421-CRB
                                                MEDICINE PHYSICIAN GROUP, INC., a
                                           14   Wisconsin Corporation,                            JOINT STIPULATION AND [PROPOSED]
                                                                                                  ORDER TO EXTEND TIME TO RESPOND
                                           15                       Plaintiff,                    TO THE FIRST AMENDED COMPLAINT
                                           16         v.                                          [Declaration of Jason D. Strabo lodged
                                                                                                  concurrently herewith]
                                           17   ENVISION HEALTHCARE CORPORATION; a
                                                Delaware Corporation; ENVISION PHYSICIAN
                                           18   SERVICES L.L.C.; a Delaware Limited Liability     Judge: Hon. Charles R. Breyer
                                                corporation doing business in California and
                                           19   DOES 1-100,                                       Complaint Filed: December 20, 2021
                                                                                                  FAC Filed: February 18, 2022
                                           20                       Defendants.
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                                                                             JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO FAC
                                                                                                                          CASE NO. 3:22-CV-00421-CRB
                                                       Case 3:22-cv-00421-CRB Document 53 Filed 06/07/22 Page 2 of 5



                                           1            Pursuant to Federal Rule of Civil Procedure 6(b) and Civil Local Rule 6-1(b), Plaintiff

                                           2    American Academy of Emergency Medicine Physician Group, Inc. (“Plaintiff”) and Defendants

                                           3    Envision Healthcare Corporation and Envision Physician Services LLC (“Defendants”) collectively

                                           4    (the “Parties”), by and through their undersigned counsel of record, hereby stipulate with respect to

                                           5    Defendants’ time to respond to the First Amended Complaint up to and including June 24, 2022, as

                                           6    follows:

                                           7            WHEREAS, on December 20, 2021, Plaintiff filed its original Complaint in state court;
                                           8
                                                        WHEREAS, on January 21, 2022, Defendants removed this case to this Court [Dkt. 1], and
                                           9
                                                on January 28, 2022, filed a Motion to Dismiss [Dkt. 11];
                                           10
                                                        WHEREAS, on February 18, 2022, Plaintiff filed its First Amended Complaint [Dkt. 18];
                                           11
MCDERMOTT WILL & EMERY LLP




                                           12           WHEREAS, on March 4, 2022, Defendants filed their Motion to Dismiss the First Amended
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   Complaint [Dkt. 23];

                                           14           WHEREAS, on May 27, 2022, this Court denied Defendants’ Motion to Dismiss [Dkt. 47];
                                           15
                                                        WHEREAS, on June 1, 2022, this Court entered an order referring the above-entitled case to
                                           16
                                                Magistrate Judge Sallie Kim for settlement [Dkts. 48 & 50];
                                           17
                                                        WHEREAS a scheduling conference for settlement conference is set for June 8, 2022 [Dkt.
                                           18
                                                50];
                                           19

                                           20           WHEREAS, a Joint Case Management Statement is due by October 14, 2022, for the Initial

                                           21   Case Management Conference set for October 21, 2022 [Dkt. 49];

                                           22           WHEREAS, there are no additional dates or deadlines set;
                                           23
                                                        WHEREAS, Plaintiff has agreed to a two-week extension for Defendants to respond to the
                                           24
                                                First Amended Complaint [Dkt. 18] up to an including June 24, 2022;
                                           25
                                                        WHEREAS, the Parties have not previously requested any extensions, the Parties do not enter
                                           26
                                                into this Stipulation for the purpose of delay, and the Court has not yet scheduled any other pre-trial
                                           27

                                           28                                                     -1-          JOINT STIPULATION AND [PROPOSED]
                                                                                                            ORDER TO EXTEND TIME TO RESPOND TO
                                                                                                                                                 FAC
                                                                                                                          CASE NO. 3:22-CV-00421-CRB
                                                      Case 3:22-cv-00421-CRB Document 53 Filed 06/07/22 Page 3 of 5



                                           1    or trial dates;

                                           2            WHEREAS, no party will be prejudiced by the stipulated-to extension;
                                           3
                                                        NOW THEREFORE, the Parties hereby stipulate and agree, subject to the Court’s approval,
                                           4
                                                as follows:
                                           5
                                                        1.        The date for Defendants to respond to Plaintiff’s First Amended Complaint [Dkt. 18]
                                           6
                                                has been extended from June 10, 2022, up to and including June 24, 2022.
                                           7

                                           8            2.        Nothing in this Stipulation shall be construed as a waiver of any Party’s rights or

                                           9    positions in law or equity, or as a waiver of any defenses.

                                           10           IT IS SO STIPULATED.
                                           11
MCDERMOTT WILL & EMERY LLP




                                           12
                        ATTORNEYS AT LAW




                                                Dated: June 3, 2022                    MCDERMOTT WILL & EMERY LLP
                          LOS ANGELES




                                           13

                                           14                                          By:    /s/ Jason D. Strabo
                                                                                              JASON D. STRABO
                                           15                                                 Attorneys for Defendants
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                                           17

                                           18                                           MILLSTEIN FELLNER LLP

                                           19                                          By:    /s/ Gerald S. Richelson
                                                                                              GERALD S. RICHELSON
                                           20                                                 Attorneys for Plaintiff

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                                           28                                                      -2-           JOINT STIPULATION AND [PROPOSED]
                                                                                                              ORDER TO EXTEND TIME TO RESPOND TO
                                                                                                                                                   FAC
                                                                                                                            CASE NO. 3:22-CV-00421-CRB
                                                     Case 3:22-cv-00421-CRB Document 53 Filed 06/07/22 Page 4 of 5



                                           1                      ATTESTATION PURSUANT TO LOCAL RULE 5-1(h)(3)

                                           2
                                                       I, Jason D. Strabo, attest that concurrence in the filing of this Stipulation to Extend Time to
                                           3
                                                Respond to the First Amended Complaint has been obtained from the other signatory. I declare
                                           4
                                                under penalty of perjury under the laws of the United States of America that the foregoing is true
                                           5
                                                and correct. Executed on this 3rd day of June 2022, in Los Angeles California.
                                           6

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                                                                                                     Jason D. Strabo
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MCDERMOTT WILL & EMERY LLP




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                        ATTORNEYS AT LAW
                          LOS ANGELES




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                                           28                                                     -3-          JOINT STIPULATION AND [PROPOSED]
                                                                                                            ORDER TO EXTEND TIME TO RESPOND TO
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                                                                                                                          CASE NO. 3:22-CV-00421-CRB
                                                    Case 3:22-cv-00421-CRB Document 53 Filed 06/07/22 Page 5 of 5



                                           1    PURSUANT TO STIPULATION, IT IS SO ORDERED.

                                           2

                                           3

                                           4    DATED:     June ____,
                                                                7     2022              ____________________________________
                                                                                        HONORABLE CHARLES R. BREYER
                                           5                                            United States District Judge

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MCDERMOTT WILL & EMERY LLP




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                        ATTORNEYS AT LAW
                          LOS ANGELES




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                                           28                                        -4-        JOINT STIPULATION AND [PROPOSED]
                                                                                             ORDER TO EXTEND TIME TO RESPOND TO
                                                                                                                                  FAC
                                                                                                           CASE NO. 3:22-CV-00421-CRB
